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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS

 DAVID E. MACK,                                     )
                                                    )
                       Plaintiff,                   )
                                                    )   Civil Case No.
 v.                                                 )   4:18-cv-00006-ALM-CAN
                                                    )
 EXPERIAN INFORMATION SOLUTIONS,                    )
 INC., et al.                                       )
                                                    )
                       Defendants.                  )


      DEFENDANT EQUIFAX INC.’S RESPONSE IN OPPOSITION TO PLAINTIFF’S
        SECOND MOTION TO STRIKE EQUIFAX’S AFFIRMATIVE DEFENSES

        NOW COMES Defendant Equifax Inc., by counsel, and responds to Plaintiff’s Second

 Motion to Strike Equifax’s Affirmative Defenses and Memorandum in Support (“Motion to

 Strike”). (Doc. 23). Mr. Mack moved to strike Equifax Inc.’s First and Second Affirmative

 Defenses in its Amended Answer. (Id.). For the reasons set forth below, the Second Motion to

 Strike should be denied.

                                        BACKGROUND

        On January 3, 2018, Mr. Mack filed his Complaint in this action. (Doc. 1.) The

 Complaint alleged violations of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C.

 § 1681g(a)(1), concerning Equifax Inc.’s alleged failure to provide Mr. Mack with a “full

 consumer file disclosure.” (Id. at ¶¶ 9-30, 39-42). On February 2, 2018, Equifax filed its Answer

 to the Complaint. (Doc. 11). On February 22, 2018, Equifax filed its Amended Answer to the

 Complaint. (Doc. 19). In its Amended Answer, raised the following affirmative defenses:

                                       FIRST DEFENSE
               Equifax Inc., is not a proper party to this action. Equifax Inc., does not
        maintain a database of consumer credit information, does not handle consumer
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        credit files or issue consumer credit reports, and does not investigate consumer
        disputes.

                                      SECOND DEFENSE.
                Equifax Inc., is not a consumer reporting agency as defined by the FCRA.
        Equifax Inc., does not maintain a database of consumer credit information, does
        not handle consumer credit files or issue consumer credit reports, and does not
        investigate consumer disputes.

 (Doc. 19 at 6).

        On February 23, 2108, Mr. Mack filed a Motion to Strike Equifax Inc.’s Affirmative

 Defenses, (Doc. 20), and on February 26, 2018, Mr. Mack filed a Second Motion to Strike

 Equifax Inc.’s Affirmative Defenses, (Doc. 23). On March 9, 2018, this Court denied as moot

 Mr. Mack’s first Motion to Strike Equifax Inc.’s Affirmative Defenses. (Doc. 29).

                                    STANDARD OF REVIEW

        Federal Rule of Civil Procedure 12(f) empowers the court to strike from any pleading “an

 insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” However,

 as Mr. Mack concedes, “striking a portion of a pleading is a drastic remedy . . . [M]otions under

 Rule 12(f) are viewed with disfavor and are infrequently granted.” (Doc. 23 at 1 (quoting

 F.D.I.C. v. Niblo, 821 F. Supp. 441, 449 (N.D. Tex. 1993)).

        When pleading affirmative defenses, a defendant need only recite a short and plain

 statement of the defense being asserted that will give the other party “fair notice” of the claim

 and the grounds upon which it rests. Woodfield v. Bowman, 193 F.3d 354, 362 (5th Cir. 1999);

 see also SecurityProfiling, LLC v. Trend Micro Am., Inc., No. 16-CV-01165-RWS-JDL, 2017

 WL 5150682, at *7 (E.D. Tex. Mar. 21, 2017) (same); Campmed Cas. & Indemn. Co. v.

 Specialists on Call, Inc., No. 16-CV-00452, 2017 WL 373463, at *3 (E.D. Tex. Jan 26, 2017)

 (same). The “fair notice” requirement is met if the defendant “sufficiently articulated the defense




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 so that the plaintiff was not a victim of unfair surprise.” Woodfield, 193 F.3d at 362 (citation

 omitted).

        Additionally, the court must not strike a defense as immaterial or impertinent unless

 “(1) there is no possible relation between the challenged portion of the pleading and the

 underlying controversy; or (2) the challenged portion may prejudice the moving party.”

 Microsoft Corp. v. Worth, No. 3:06-cv-2213, 2007 WL 1975574, at * 2 (N.D. Tex. July 5, 2007)

 (citation omitted). Affirmative defenses should be stricken only when insufficient as a matter of

 law. Kaiser Aluminum & Chem. Sales, Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045, 1057

 (5th Cir. 1982).

                                          ARGUMENT

        Mr. Mack attacks Equifax’s First and Second Affirmative Defenses as “attempts to hide

 behind a corporate structure with numerous entities using the Equifax name to avoid liability.”

 (See Motion to Strike at 3). Mr. Mack’s Second Motion to Strike implicitly acknowledges that he

 has “fair notice” of the two affirmative defenses and the grounds upon which they rest. Nowhere

 in the Second Motion to Strike does Mr. Mack demonstrate that Equifax’s First and Second

 Affirmative Defenses have no possible relation to this case.

        Additionally, as the moving party, Mr. Mack bears the burden of establishing that it

 would be prejudiced by Equifax’s affirmative defenses. Mr. Mack has wholly failed to make this

 showing. Because Mr. Mack fails to demonstrate prejudice or that the affirmative defenses bear

 no possible relation to his claims, he has not met the standard for the “drastic” and “disfavored”

 remedy under Rule 12(f). F.D.I.C., 821 F. Supp. at 449.

        In his Second Motion to Strike, Mr. Mack offers two arguments to show that Equifax Inc.

 is a consumer reporting agency subject to the FCRA. First, Mr. Mack states that he sent a letter




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 to “Equifax” without specifying which Equifax entity received or responded to his letter. (Doc.

 23 at 3). Indeed, he does not even specify: (1) which Equifax entity was the intended recipient of

 his letter, (2) the address of Equifax Inc., or (3) the name of the entity that bears the address he

 provided as his intended destination. Second, Mr. Mack offers a snippet of information allegedly

 from “Bloomberg.” The snippet does not state that Equifax Inc. is a consumer reporting agency

 subject to the FCRA. To the contrary, the snippet states that other entities offer “consumer and

 commercial information services, such as credit information and credit scoring.” (Doc. 23 at 3).

 The snippet is inadmissible as unauthenticated hearsay. Federal Rules of Evidence 801(c),

 901(a). Third, Mr. Mack offers pieces of a consent decree that is not itself offered into evidence.

 (Doc. 23 at 4). Again, the offered language does not state that Equifax Inc. is a consumer

 reporting agency subject to the FCRA. Rather, the offered language merely suggests that Equifax

 Inc. may be a “covered person” or the “affiliate” of a covered person pursuant to 12 U.S.C. §

 5481(6). Mr. Mack does not offer any further evidence.

                                          CONCLUSION

        For the reasons stated above, Ms. Mack’s Second Motion to Strike should be denied.



 Dated: March 12, 2018                                Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that I have this 12th day of March, 2018 electronically filed a true and

 correct copy of the foregoing via the CM-ECF system to the following counsel of record:

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                                                      /s/ Kendall W. Carter
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